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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


KARINA GOEHRING NEFF,                           )
     Plaintiff                                  )
                                                )
vs.                                             )       C.A. No. 1:24-CV-142
                                                )
RBS HOLDINGS, LLC and JOHN                      )       RE: ECF No. 23
COLLENETTE,                                     )
     Defendants.                                )


                                    MEMORANDUM OPINION


U.S. D.J. Susan Paradise Baxter

           Before the Court is Plaintiff’s Motion to Strike Defendants’ Amended Answer and New

Matter and for Partial Judgment on the Pleadings, filed at ECF No. 23. For the reasons set forth

below, both motions will be denied.



      I.      Factual and Procedural Background

           This case involves allegations of ongoing sexual harassment against Plaintiff, which

occurred between July 2022 and February 2024, during her employment as a shipping

coordinator at RBS Holdings LLC. ECF No. 1 at 15-22. The Plaintiff claims that she was

sexually harassed by a coworker on multiple occasions, and that the harassment persisted without

appropriate action, despite her reports to upper management. Id. at 24-31, 40-78. As a result, she

claims to have suffered from physical ailments, and ultimately was compelled to resign. Id. at

32-39, 58.

           On May 29, 2024, Plaintiff filed a Complaint. ECF No. 1. Defendants filed their initial

Answer on June 25, 2024, which contained various errors and failed to address Count V of the
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Complaint. ECF No. 9. On July 29, 2024, the parties submitted their Rule 26(f) Report proposing

an August 30, 2024, deadline for amending pleadings. ECF No. 15. An Amended Answer was

filed on August 15, 2024, correcting the clerical errors and addressing Count V of the Complaint.

ECF No. 19. An inspection of the documents reveals that a numeration error in the initial Answer

may have shifted the responses, impacting all the later intended responses. Compare, ECF No. 9

at 54-102 and EFC No. 19 at 54-110.

       A Case Management Conference was also held on August 15, 2024, resulting in a Case

Management Order on August 16, 2024, adopting the August 30th amendment deadline. ECF

Nos. 20, 21. Immediately thereafter, Plaintiff filed its motion for Partial Judgment on the

Pleadings and to Strike Defendants’ Amended Answer and New Matter. ECF No. 23. Defendants

then filed a brief in opposition. ECF No. 25.



   II. Legal Standards

       The Federal Rules of Civil Procedure provide: “[a] party may amend its pleading only

with the opposing party's written consent or the court's leave.” Fed. R. Civ. P. 15(a)(2). A plain

reading of the rule reveals two alternatives for amending pleadings when applicable: the

opposing party’s “written consent” or “the court's leave.” Id.

       Rule 12(f) “permits the court, on its own motion, or on the timely motion of a party, to

order stricken from any pleading any insufficient defense or any redundant, immaterial,

impertinent, or scandalous matter.” Adams v. Cnty. of Erie, Pa., 2009 WL 4016636 at *1

(W.D.Pa. Nov. 19, 2009) (quoting Fed. R. Civ. P. 12(f)). “The purpose of a motion to strike is to

clean up the pleadings, streamline litigation, and avoid unnecessary forays into immaterial



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matters.” Natale v. Winthrop Resources Corp., 2008 WL 2758238 at *14 (E.D.Pa. July 9, 2008)

(internal citations omitted)).

        Although courts possess “considerable discretion in disposing of a motion to strike under

Rule 12(f), ‘such motions are not favored and usually will be denied unless the allegations have

no possible relation to the controversy and may cause prejudice to one of the parties, or if the

allegations confuse the issues in the case.’” Thornton v. UL Enterprises, LLC., 2010 WL

1005021 at *2 (W.D.Pa. March 16, 2010)(internal citations omitted). “Striking some or all of a

pleading is therefore considered a drastic remedy to be resorted to only when required for the

purposes of justice.” Id. (quoting DeLa Cruz v. Piccari Press, 521 F.Supp.2d 424, 428 (E.D.Pa.

2007) (internal citations omitted)).

        Rule 12(c) of the Federal Civil Rules provides that “After the pleadings are closed—but

early enough not to delay trial—a party may move for judgment on the pleadings.” Fed. R. Civ.

P. 12(c). "The pleadings are closed after an answer is filed….” Isaac's Deli, Inc. v. State Auto

Prop. & Cas. Ins. Co., 539 F. Supp. 3d 424, 428 (E.D. Pa. 2021)(internal citations omitted.). But

See, Fed. R. Civ. P. 7(a) advisory committee’s note to 1937 amendment (deferring to Fed. R.

Civ. P. 15 regarding the amendment of pleadings as included in pleadings generally).

        Fed. R. Civ. P. 15(a)(2) governs amended pleadings and applies only after the scheduling

order deadline. See, Graham v. Progressive Direct Ins. Co., 271 F.R.D. 112, 118 (W.D. Pa.

2010)(discussing the “tension” between rule 16(b)(4) and 15(a)(2) and finding that it is

appropriate to first analyze such a dispute under Rule 16 after the scheduling order period has

elapsed.) The pleadings therefore closed on August 30, 2024. If a motion for judgment on the

pleadings is filed prior to the close of pleadings, the motion is premature. Drennen v. Cmty. Bank

of N. Virginia, 2009 WL 440960, at *2 (W.D. Pa. Feb. 23, 2009).

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       To the extent that the Plaintiff’s Motion for Judgment on the Pleadings was contingent on

the Amended Answer, a motion for judgment on the pleadings should be granted if the movant

establishes that “there are no material issues of fact, and he is entitled to judgment as a matter of

law.” Zimmerman v. Corbett, 873 F.3d 414, 417 (3d Cir. 2017)(citing Sikirica v. Nationwide Ins.

Co., 416 F.3d 214, 220 (3d Cir. 2005). In considering a motion for judgment on the pleadings, a

court must accept all of the allegations in the pleadings of the party against whom the motion is

addressed as true and draw all reasonable inferences in favor of the non-moving party. Id.

(internal citations omitted).



   III. Discussion

       Here, the Defendants did not request the Courts leave to amend the answer presumably

because written consent was already obtained from the opposing party, and their Amended

Answer was filed prior to the close of pleadings. The parties agreed to a deadline of August 30,

2024, to amend pleadings when they jointly filed a signed Rule 26(f) Report proposing that date.

Id.; See also, Fed. R. Civ. P. 11(b)(discussing representations made to the Court.). This Court,

based on the jointly proposed amendment deadline, also issued a Case Management Order,

pursuant to Fed. R. Civ. P. 16(b)(1)(A), which adopted the August 30, 2024, date for

amendments. ECF No. 21. Therefore, to the extent that Fed. R. Civ. P. 15(a)(2) is applicable,

written consent was obtained by the Defendants, and the Court’s leave was not required for them

to file an amended pleading until after August 30, 2024. After that date, this Court could

consider a violation of the scheduling order under Fed. R. Civ. P. 16(b)(4) and then decide

whether leave is appropriate under Fed. R. Civ. P. 15(a)(2) if required. Graham, 271 F.R.D. 112



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at 118. Pleadings closed on August 30, 2024, and the Defendants’ August 15, 2024, filing of the

Amended Answer was timely.

                                         Motion to Strike

       This Court now considers Plaintiff’s Motion to Strike Defendants’ Amended Answer.

Here, if the Plaintiff succeeds in striking the Defendants’ Amended Answer, the Court would be

left with the severe consequence of potentially entering a default judgment on many issues in

dispute in the Amended Complaint, due to the nature of the error in the Answer. A comparison

of the Answer, and Amended Answer, illuminates the fact that a numeration error may have

shifted the Answer responses, and may have impacted the intended responses of the Defendants.

See, ECF No. 9 at 54; ECF No. 19 at 54. Furthermore, the Amended Answer introduces no

frivolous or immaterial defenses, and its purpose appears to be the resolution of mistakes in

furtherance of a merit-based resolution to the matter.

       This Court finds that striking the Amended Answer and New Matter would undermine

the strong interest the Court has in resolving disputes on the merits. See e.g., Grabenstein v. A.O.

Smith Corp., 2012 WL 2849386, at *1 (E.D. Pa. Apr. 2, 2012)(citing Khadka v. Rajamani, 2009

WL 910849, at *2 (E.D.Va. Apr.1, 2009)(“[T]he Answer was only one day late and its tardiness

did not prejudice [the plaintiff] in the least. Moreover, granting the motion to strike would allow

the plaintiff to avoid resolving his case on the merits. The Court will not sanction such an

outcome.”). Furthermore, Plaintiff has failed to demonstrate what prejudice or undue delay, if

any, she has suffered as a result of Defendants' filing. On the contrary, the Rule 26(f) Report

submitted by both parties indicates that the Plaintiff anticipated that pleadings could be amended

until August 30, 2024, and would not experience any prejudice or delay by an Amended Answer



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filed before that date. For these reasons, the Court finds that any prejudicial effect on Plaintiff

does not outweigh the significant interest the Court has in deciding the case on the merits.

                              Motion for Judgment on the Pleadings

       Plaintiff moves this court for a judgment on the pleadings as to Count V based on the

theory that Defendants failed to adequately respond to the allegations set forth in the Complaint

in their initial answer. ECF No. 23 at 5-8. Defendants were entitled to amend the Answer until

August 30, 2024, at which point pleadings would close, pursuant to the agreed upon scheduling

order. Prior to this court analyzing the merits of this motion, pleadings must have closed. See,

Fed.R.Civ.P. 12(c)(“After pleadings have closed….”) Accordingly, although Defendants have

failed to object on this basis, this motion for judgment on the pleadings is premature. See e.g.,

Drennen, 2009 WL 440960, at *2 (finding that the plaintiff's motion for judgment on the

pleadings was premature and denying the motion).

       Furthermore, to the extent that Plaintiff’s motion is based on the Amended Answer,

Defendants denied all of the averments set forth in the Complaint at Count V. ECF No. 25 at

104-110. After drawing all reasonable inferences in favor of the non-moving party, this Court

finds that material facts are in dispute related to Count V.

Conclusion

       For the aforementioned reasons, Plaintiff's Motion to Strike Defendants' Amended

Answer, and Plaintiff's Motion for Partial Judgment on the Pleadings will be denied.



An appropriate Order follows this Memorandum Opinion.




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